                                                                                   Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 1 of 36



                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Abitoncc 7Pcs White Preppy Heishi Surfer Bracelets Set for Teen Girls, Preppy Colorful Clay Bead Stackable Stretch Bracelets Necklace Set, Y2K Bracelets Preppy Accessories (White) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Abitoncc-Bracelets-Colorful-Stackable-Accessories/dp/B0BJ1YBJFV/ref=sr_1_216

   Collection Date
   Thu, 20 Apr 2023 05:26:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fpMUaqf46jcfsjXY0CREqB4DmhtF7cr2kTSKKGQ/F3RB4wwTqpbNY40/Z/OLQZH+pRg3RJByRCCEOFF/1Pdm4SFWoXM9pmPBLQBnpzfpU1pOl9bb0ciPjTZmrvheKGFukviFE0uspj+r5r88rL38DLoTEGWfcxPAiK1TK3dTSbA=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Abitoncc-Bracelets-Colorful-Stackable-Accessories[fs]dp[fs]B0BJ1YBJFV[fs]ref=sr_1_216]]_Thu,-20-Apr-2023-05-26-13-GMT.pdf

   Hash (SHA256)
   461fea84ffed7ae470f6aa77836439df80b30b29d4c2a96ac59c11d80654389d

   Signature (PKCS#1v1.5)
kB4EXxGMMwDowvR6Mvvs7eouF6P81qWN6FMx2sX3iYJWMlwk1nMVPC5tTDDjfHu+udOxc7mSFJNH1C8MicVyxH6R9xm0NNS2XR6Y4W5Ff85ltk6WHarv1A8uxVctqhIAQgEdEqiwmYVhaD5VQgDsOdfCcv0nEic+o+c4D6BL9Oo=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 2 of 36



                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 16:17:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   mtY99SRaT4fQv+oZxvelD1k98H+DFAOTBQ0YOL/Og9YcBKd86yhlCXccW+zB51hTNX/dCW/sAca5N/VijSLJnI2soXeeEO7+343cDCHFdEOwTz7D9VtRTgXqLaOvIt8VSsA8trdSlji5Blfwbm1TqQS7GGAw2iP7HNR82fYoQZFvecG02M
   +o5Xsz8cUZS4etWK1EyuKI8+8WVcdsZpCxAvz1jTozDbeBjvlVIJYUasV86NBX1yjWcvgiQPVU/BpPfuKAqgqyIEobTVsvQvtfXqqERDccdOtVCmT68Aw3gxeFKItKS+nFqQArA5UZxQgrgs/vVWeA3Iqr5uXZXxUBjQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-16-17-39-GMT.mhtml

   Hash (SHA256)
   4cf79dd306d76eab3a5d8a8cf636fc5bf292eac57c913cece45b12645033ecff

   Signature (PKCS#1v1.5)
GQ2Qz31+Qsk5bxMP0gufox40g0ASFskV4JysypIeEDGCcGdgBYStZqchBm8OvGVI960MAAy4Rr9RM0oFeOK32Bl2ELSfSBnsI1xj9CfhTZjTPKnPZXZ69IoYN4jx3geOsLvq6KgNNCV8eBDvbIA+P2M92Kr8yK7aVtpocxxzuO9/
yZ2RkX68ig7f9EVwH7rwJxzVEHaRsoIx63SQCONTvSu5hzYOFtNxDfQzOq1VdHw9tVWvKTC4X6yhTnURKQDLCvcGkLjLpAyRn5L+muq5yL6fPhaegx2CqzYQhrH0WRGe/DXP8WMlrTZwJypCGnYVmQMbHYKJVs11DaKhXQTqEg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 3 of 36



                                                                                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Pearl Choker Necklace - Harry Golden Irregular Pearl Necklace for Women Bohemian Colorful Smile Beads Pearl Choker Adjustable Summer Y2K Jewelry Gift for Teens Girls (Golden Smiley Choker): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Smiley-Face-Pearl-Choker-Necklace/dp/B09882YL54/ref=sr_1_90

   Collection Date
   Mon, 24 Apr 2023 05:15:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   p1ztwM/lqtir6OlKmNYrhBCdLpP5nRzGwPvrrl+vbEYweMVfcXrnl98g0S/4yyKt3rK6RPsp/Ou9MWSalHYWcCLdxRlidt5k7m8v5l3NirvZGCHQuHfWdnc/os79P0JqHWKRewuSYClP80em9f7Rvjtdd9etYUw5GM3zo9qLtu8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Face-Pearl-Choker-Necklace[fs]dp[fs]B09882YL54[fs]ref=sr_1_90]]_Mon,-24-Apr-2023-05-15-19-GMT.pdf

   Hash (SHA256)
   dd95cb5eb7419cce5334e952062ec9372c16f8cfeb61b98b1c3c8b9ddff65e07

   Signature (PKCS#1v1.5)
JQPhXl7Y0CL3ZwKKFgKVQnD8KiYKG1j0rrV49DCfM/yn8koqHMWDLc+lDBqc8yu+DHglhNk6craA25Eq3ddJ1amlaU7IFD2bBr7IulfVpMwBn/BhC2H1MxH8PDmK5KOQ9+PB1SU0vDL/A0krQ8Ds1ixEyLsnR3bQzM2xDtiOwgw=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 4 of 36



                                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 14:29:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MgmqouFAbb6JqUXMdfFq8LxYKgvSxauEDnyaFtY7dgqENZHhzMZ+8nzQdc9rjkomsISn2oQka6B7P+g/LCCAh109uamSKObS0DkbUiKqAdHW+INIepKRuhwADM4mhhMGp4CTUS+UIvBAr5y9LzFSkcjCDHmDCBeVbw+4cBj4Q7Y0PeymhgHI3E83F247jmEMCI0Tl2W+FeNuhGjANwD+3/
   OhT91goJOamKwXBgKouEG6SZz6Jyx3k7pjwO9q3d7Ud+dDY39nWJCq7f69h00e8hDiYnBvFXEYYW+bnATc7r6BsCgOVEIT15sXMbefrdLh/LAWKy5LaZ8922MLByhnaQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-14-29-07-GMT.mhtml

   Hash (SHA256)
   504559bbba6db440053778c81a58ff7605ceebe4b127d880041c801a2817c4c4

   Signature (PKCS#1v1.5)
ObS2tKNsquGHnrNJ4HDBUZqPOYOvkSKMb+ybVjIOqpX9DAwSfFOqjuXezLClFImL2j7eNlD5O+Ng4q2Qud4RxmQhXNBeffwTApJQSIHr2r1wko4P79/Pw435tDJMvdWhleqQDDhiRQ8WtSm3+8t
+fS0ZlefR6DShXogCc1jhWrjC0bkcLDVawdeXAGrQTpaqFosk3vl0DiRUlI2OYbIPjiY6mJekel21QW80EStn5xNW19edCZgFqlUmHmG6CmzKkFcUV3wi0vgmit78d9SP/0gwxfsEFsxWanX/UAUjSqtNGNxCzCWNx+1tpS8Rx4zY4d7CMpDjv+oD712w/GVqEQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 5 of 36



                                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: FABUVIEW for iPhone Smiley Face 13 pro Case,Cute Aesthetic Smiley Face Psychedelic Pattern Ultra Slim & Soft TPU Anti-Slip Scratch Resistant Drop Proof Phone Cover for iPhone 13 pro 6.1 inch White Cell
                                                                                                                                                                                                                     : Phones & Accessories

   URL
   https://www.amazon.com/FABUVIEW-Aesthetic-Psychedelic-Anti-Slip-inch%EF%BC%88White%EF%BC%89/dp/B09X9CVNH5/ref=sr_1_152

   Collection Date
   Mon, 24 Apr 2023 11:24:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JnLr1bSd2auF/nE9SCQw2gHt3lXed9PFpJUqJmaXJ8IWMA1zjGS2DZ1Bjl/1fy5JmmSJOhi8FDjfP29gLfz3u/FUSc+jx7kABfBVs498m6ZMwMFtYxIVffxtPADesEss6jq+tALecyooAGWj9g6fbXVNPab1oeCcwPTdRUhNWMw=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FABUVIEW-Aesthetic-Psychedelic-Anti-Slip-inch%EF%BC%88White%EF%BC%89[fs]dp[fs]B09X9CVNH5[fs]ref=sr_1_152]]_Mon,-24-Apr-2023-11-24-28-GMT.pdf

   Hash (SHA256)
   57c938786da73144c34b0e4387df22d75d15428a4b8fe8e8e006af4a5aa5c627

   Signature (PKCS#1v1.5)
HksSkI28wmhcIJzvBaZ1WYbWRLk4aUQQm+1i/q7BvQ8Vwsx6vGQMTC6Ta7H/kM5nPXTti3DrsU5xXbfQqVfISMziW5T40BeuxcmyWxTD/3gp9KvpS0FQyaTY5vP3n838qhRrJGxCmXV7iMOWD0TZXsG2C/Dmq8+VRpV5AOuOnjY=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 6 of 36



                                                                                                                                                                                                                   Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 17:27:54 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GRKJV8oSdN6KMusviHeZ4tTGVUbdq4gFfewFxg8pTnR0BkfO6GjgsAs1MtUF3OMHsX3dLh9iX8XlkwvdG0XK18TN5jhKOwVw4bsdiA/QUEHn0Q72j5VLcHkh8eA1/
   S5mM4Lgv5raybuX3lQLH5TbT1uDiLBQUIQvSow8MkP6da0SU6i3ySNLgVQjAzgkELL7tkktj1hBPjRsj3jT2F33YeHuvr6QZIhJ0A6etYHUOxKYxFSpWWPPZW1lhU+W4yr8t6IndxRoIElzK6e7U5Csr04gfMrBBZHMFfItB6jg3eNKHizr0JAFiSd7X+kSXR3cLzJki8lq9pJ/jnGx/tg48A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-17-27-54-GMT.mhtml

   Hash (SHA256)
   753f35f6e1ea1bccff585c852d04ffbb974e6d360885d1b6fb007f8ce917bcc5

   Signature (PKCS#1v1.5)
nPdaCn6pz1ICLdTLX/Ca79u/Ym8gowVDzyXs8Q11L0ngo+6TBsr93O0SZ39MuAb5AvsuQI6ggWTAhd6K9ZiNpzp/jvV+wT1R1YSZ7MK6KzXrQQpZkxXlVvpj4rvlTUJK3CzlMc5DhZXyh9LvDc+W5j7bX15SAKcfvDzSXh4G9Y5Jfyxlfx14l4sOkJIcmqcxER1+KS1T8HYWXRWV1Jv+T/
+OIIueuoPpB492XN5ddN9Nhh5WeK4dkCnsLjtgK8clzqIWdI0gkfUlTU1Ew/5fuIdmP1fQogNwyHNdcg3pOs6AcmJ8oQxo1Ab6rrwQF99S3rXZNsG3XDGZsgFDeWWL4Q==
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 7 of 36



                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Facweek Compatible with iPhone 13 Pro Max Case for Women Girls, Cute Smiley Electroplate Edge Bumper [Anti-Scratch Shockproof + Full Lenses Protection] Protective Cases and Covers 6.7 Inch - Pink : Cell Phones & Accessories

   URL
   https://www.amazon.com/Facweek-Compatible-Electroplate-Anti-Scratch-Shockproof/dp/B09HCJ1KK5/ref=sr_1_128

   Collection Date
   Wed, 19 Apr 2023 10:19:18 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NSF4hsS3EVrp3osKyolN8zolJriozEHc4b2MZERU8Ffxj0sq14USJfoEO3ZEBcMOtzHW+rxM24/F32uMcqcfv+elev6E/XSl8ex2bmhRRRBb9ppPTjMs4eWYLsplKHpddhyT304qCQYOBGJEUuuWmGiBr8+0UDwFS0kuMVqDTuM=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Facweek-Compatible-Electroplate-Anti-Scratch-Shockproof[fs]dp[fs]B09HCJ1KK5[fs]ref=sr_1_128]]_Wed,-19-Apr-2023-10-19-18-GMT.pdf

   Hash (SHA256)
   59aa17d76b2a118aebb66e9d115999e95e1b4857bd9f17ae0c3aae979e85e294

   Signature (PKCS#1v1.5)
lDN7v53ifNmgQ+ASknUpomB8hsxgj73tAJiy8FgvOTpViYV9Ii5tTg7xbZmH8FerRiOXyiRz0GVo6GKEEBTrBBVmMoC74wEIZc+ZShkxMIzys+J/LPTA1tX5ZEZ75dlXlxg5bgfon3Gq3+ulLEMjPPRlW6gApZ5VXqV5Bwo6GtU=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 8 of 36



                                                                                                                                                                                                                  Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 08:41:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   N+SM2waADYp6n7t3fz0EB9vkLey7gAMvFEBZvSSsHcCDvr5iu0KVB6fx2ZjSR6cH9IFjoYxLYLXxE1YaqCmchn6zKzkjSavvJHbcXotIzcJoHUX6ESrD2ZO8i090v3ou0IUu4tWZKtz2UD/T19AIOhCqfwk1Fyx2ZCkQSnTb3UyQhlCZbIg/OAjTRKjMKqXasgfMhMJMlBC3jAUfGFtltH4E1/
   bEZGJQNl1i6JHYTf8UJf0S4bAi0XAvztbmpyultyPE7iUaeG+/mEJGo2LnxkWzTyt6PYdYs6JRTlnPD5ZfNIkpQJ3ozhUb+LPC+0D+dlqd9j1M0f7OnXx344t7Iw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-08-41-19-GMT.mhtml

   Hash (SHA256)
   a791239c36dbe9fb1808622638959ebe9c9dcae60823f1387008b2fad7efd322

   Signature (PKCS#1v1.5)
wNAyooS8w9LIr6L/7pESw0LEXtgr+ZoZ2U2X2S3PcTC6LiFNu52H/acZox064krFds5Ya4rwv0o17d736JfC3PddS8uivf3/wW1WDLnhziiHHwrmH3atj9iVSG/ZYo2Nn3k8CC4Rr1K4QFUj16j+5gPaKcSbD4oitAy+tHCCLd6GlNpCP868QtKrWD3iI
+zz1zrSKWz088v9NgwYXUb/7UenNa6HQ0PS3HIImEkyxFqkUhZaf9zNh8TgN5yKQsDJWwNG2KC2Bru4XzSk39Yfqy0mUrORDL+v9wHXDVT0RJ9jFhgIFi5zHIzwLCna30D6unW5aH/hhntDnCQu/+CkWw==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 9 of 36



                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Teacher Stickers for Kids Smiley Face Stickers Emoji Reward Stickers 30 Sheets 1116PCS Emotion Reward Stickers Star Teacher Classroom Encouragement : Office Products

   URL
   https://www.amazon.com/Teacher-Stickers-1116PCS-Classroom-Encouragement/dp/B09SZ99DRQ/ref=sr_1_55

   Collection Date
   Thu, 20 Apr 2023 07:44:01 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Qc5RTeE1C+hgXu+PTbEWLkLv6/t+NJtORbXsmWQV9UZ00WUlg2Vy/FMAI7FUKiwoRnHhyQn+hV8mjROHKzGjpO0gnWbAV/g4Sluxa4Ahsl4s+A9IV/e+24qNokaG4goH7wiLX0pnRRJn4CrIt9u2Scp7Zv6TwZH5SKVNMoMWWBk=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Teacher-Stickers-1116PCS-Classroom-Encouragement[fs]dp[fs]B09SZ99DRQ[fs]ref=sr_1_55]]_Thu,-20-Apr-2023-07-44-01-GMT.pdf

   Hash (SHA256)
   6023f370792b9ad7a8a76c1650f1b5e260327a587ef116ad5f90e52b103bdef2

   Signature (PKCS#1v1.5)
LSyEuSUz45eNDnk+qVxCHPyyNGM8I0HJAxNu1lAX36gLnG66DxCpLLf+4LXjWxEnG5cfTGHPm4KX4dTrb5CsfaGCCXo5FAh88HTz85pxs0v6IJDInWfEE9cE+Ha7RnHTcxgWNXLdSpc/YfCyT8pfNkn2Z3OjuujEaP67PCM6smc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 10 of 36



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 04:27:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   baAoBpRWMRdhkMiPPpZ23Nl1abB1yGcDccKCMtMfrN7Sx27tsriodKzK4si1fQbBdLWMrJZlM4Kmi6cf2TkS+162s65Rarp5Inz17T2U0Gd69OuBrO+3vqCQJc+JKPyGFipK1kSK3ZBQq1yRvHYv+zu+TFQtL1wMRbw1fhCB2l9m5TMaIJ1wumQ8xjGWjt7/m5j5WE/
   rpNIN9p5dXaxdc22UOJvkITv4CFb0f7xNlH/SZy/eY+i+WycEcW28hxJG1loDPgq5JcYYloRv6Agi8TYkp0RgaC6FYNvqEJzq2ZKjegXVx/5ueRihYkEe5by3FGkC52vUgh8tqmbB82MMtw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-04-27-47-GMT.mhtml

   Hash (SHA256)
   4f1f665b2caf807f55e5261fbe2639c2abcea57efe2ff22ab08cd867388a41e0

   Signature (PKCS#1v1.5)
a7GsvSMjmvA2dNiDwfHIBaFzjaKZuJSFVQDpoRafzqjrrpDiXP4EW2PqspJ0w3UDWwxefxSfW3qoi58baLzsnpxoOoJcA3F9P6vVuAqqU49zPVzyG2jLqpkyHojNcr7cRVh2kaVVlCAZhjonFr++oMtdkJdOAcTiIX8AVZaVnLpBk40Ho5hJMi1hr2URGqcoqd/
IojlFFSybK2rC98mhGips9FKrbdIDdKoEornZteryh2ACKBfF9pqm0NKVKX0dp3+hEFF+wMiZ7DrWK7kq61xDtgZrP4zGDZXP5S/uLIfPx4dtP2ITF7F27/xQUuC+iXT3yEVzf05GLeIqYWBcfA==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 11 of 36



                                                                                                                                                                                                             Investigator Name: Sian Kelly




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 08 May 2023 11:47:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oPwj6GWYXsCSZarshnB2JSI1aC26mC7ieNKNgn0WUWxjHwG+6ErLnBRG4IwPXrJxTC0qmVm5pZCfW6biWPfQFzH2eh0dIiwektkkJYkNkrMKZVq8M9LJm37aEHY6CpG8jXXj32/SsNDoLiKmRML8kSBlDJrFKkiQfXdLWX2u4DWyfUprhENGi65ZtjfzB7IDadIgaSF
   +VaZCV2mHFTug9YLs4DpZhff1LwZmvM57lBCOxCeEPKSACMHXjY6rasoRV3QIafm5S7IspBubYv4s8J622jNiBOnRBPwF2PFTF56lGWGHYLVLMHPVy14wdJprvpn8CL5GWrm2COIDajfbWA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-08-May-2023-11-47-33-GMT.mhtml

   Hash (SHA256)
   db7e3f756f8aede2406e6795bb7364acdc36fce326b016d41d0738099cf70a8c

   Signature (PKCS#1v1.5)
UPRq+1HVOqccm1nhlUnrCwljqCqjcebZ+OQj6361DrssN7sQ1qv3GXnNjD8FSlHOCehT08Ezc4tGoPnEoYTI3dfXMigNrViJgIEklY5rAxcYKxzNTcPQIr012vSBiFEC2CM4Hyupg+7RsqO2ZE0HDfJboWEML+gthIPcB9Q/
ViTMnh4md8NYvCVlojhANhoe3HFXYvAv9Z3c2FIZmWxBZK2LtafvOF79URQi5Az18zchSyCHQZzdY3GtliTotiaSPk/uLxyOvAp/ughCdoyk/Qyx/B9U88P64yu9NaR8Myyu6Nyo048c/ufqi9jtmVzMwxKA2aC1nXO0RjgTKPDBXA==
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 12 of 36



                                                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: yomlry Preppy Heishi Bracelets Colorful Smiley Face Bracelets Evil Eye Bracelets Pack Surfer Clay Bead Bracelet Boho Stacked Stretchy Bracelets for Women Girls Y2k Aesthetic Bracelets Summer Beach Jewelry Gifts-6pcs smiley face: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B0B5RDB2Z6

   Collection Date
   Wed, 10 May 2023 07:22:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DkhxIxT67yNXvAR35Vas7FOStKX7mP27P0ysqfd2JDeRh2esv+cU/RRM2nQJhsMp8OhtFxnsOCYCutEZET8mck+SffwWkMg1pOUZhaLvxPcw5ho7qzyJ6mJJDn5hTEYAERW/nB65iWawPHVAhE/G0aoCHpZeC0VxtcP6HefuSKgu7pHLy4/
   vL3NCnkZ71iTHa8zZ6PNRRbIdq8jCrqp7ODMFHPQ2xmz1amFU3FAHp7jYemmnwmjmyZC7jff1rp9+mTVZkVqXuvoi7QMioFvN02Hbx14SixqdZIhW/QFfLY1SPUYqy3Tk+DhASlRd+DqrplyE5OrR7GGOtEpLFJqWEA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B5RDB2Z6]]_Wed,-10-May-2023-07-22-24-GMT.mhtml

   Hash (SHA256)
   2b8ce32d6f2da9172938dff06fda3d2b18c6fc34aa20e5df282bfc0c6c37c772

   Signature (PKCS#1v1.5)
GBYeQb0DW+UF39y9+kB56KpZtZ2jz+KnUBMPK1SeVPjH397BWNIpdDCJn+oDoNOZ3ji0oRuE+5nRsZOgrDK88xNo7N330Z7gF8bYEhrS4VqxCoLXJdYiiLtYZKWwTxh0lesi87EbnG+uLN1+252p88gvxR6DxutgvGTkBxyUnaHil8s1vlwdL+E+wYoUhS
+2HPjuvt8BsYb7DGH0CtflDQkx8WmGHRun5LSnp85sUVGeuY7fU+n3nif7UL+xZfYIlLem7ONHAvTeY4GNGPxzAIvVKrU98Y7BSLNUPUD/LCLc2u+MiXu6MUKkKks89lHvU3zlaIDPKEpxv9xrgNQTbg==
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 13 of 36



                                                                                                                                                                                         Investigator Name: Sian Kelly




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 05 May 2023 10:32:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   pjUalCqxm3KzlAyXMeIXFwipkg1IcJcwHSQd/NaQm3r+HNjY5LZPeq8ghpiDQGXXdk9wALffZ6M4ZBMvYngO9UUjt84O60rH2ioFB3JOa0D5wKRpEy1UZCoEn5jycwJbdaZvG9XGKEcFCcQbRYsLIbusVHnr+rDW8qcbz06vQuBGO96bC1+
   +i617lmTCG76THR7ARMh9qeWRCqsSVMZRE3QdqRguc+pv1CST6ZL3jDZ+lRckpPtj2oeXIQqNopKkDfOyr4TQiLMH84EuL8lCeh46uGVLURXUL1qjcGSxnGq6xHOMbfyXgPXncYxM8lHEyIWJ+x8DiLazlGU1IFR/Mg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-10-32-41-GMT.mhtml

   Hash (SHA256)
   25fc03cccb6d37a94ef3a5344dcd0287ec9c564b83a2db121d3600d19154a292

   Signature (PKCS#1v1.5)
itm1zAmGjNVxM7i38EkMpBBbZ5B1MpUEhiuMjA/MHbzu6//6zfTdEOg30QZdIt4vHieGaXGvVZ/rLCOg4l8yXLOQoh2Hn6gbp+XgcETwt2BJ8m/8ILY/x7BjLQOT+R3f/I8ryp7Tz38+m2NUHhgEoQQ640GIXwdlvo2xWxS3449lG/
b0r3iDd1NqQ9OuD92ywufcrHc95UbFuElNUyKLGi3PQ698Q0DxpfOamAkSUEDyWn+9ZRpfj5Mvl6vEoR11fZCG14uUfFIFCIGrewPGWJ+2c2oe9Ful3n/7zyBmXq5hZMUg0f4bDj/fy4CkPMwRImkN0aqU6Tl31NzXmFddaA==
                                                                              Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 14 of 36



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                            Evidence Collection Report
   Page Title
   GEGEEN DOMOG Smiley Face Hat Trucker Hats Adjustable Smile Baseball Cap Summer Preppy Y2k Hat for Women Men (Patch-Purple) at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/dp/B09V5617KN

   Collection Date
   Mon, 08 May 2023 05:43:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   L/4BOxojofO2Ckw5mw7oIWDPKMY01Acx+8R23b6RdpGVqji8pCf8FAwNiD+Ei2T6zqC2JIk1zKzAGKdngKlhomeIMgKuxchMRxXzk1GwkJc54CdHOAjo1B0b1mYwsee9lRG1HxRZvanO+T2I1eWy+SLzJniCE0m694aEKvaX6D4EyHwcc4XteNKABPKAySaS8/l2gLH/
   beo5wkSBXbLQHHPC6PxrO31nKxd/t69pRo5jh2spvCLyMamuDj3O/nvlfuqiwYoy1QD3+w5j0/gc43j7QJum28lN/Nqf5tIAkb908fZlrfMbYG7QPPCw7jFKQpdj4qj0QGELJ4Xpz7048A==




                                                                                                     File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09V5617KN]]_Mon,-08-May-2023-05-43-05-GMT.mhtml

   Hash (SHA256)
   5fa4231a6b55d304f942329ab64edee695c30462d52fbf76d8f10ffe7b003452

   Signature (PKCS#1v1.5)
Eo99/NUiYKCs6Ua7GepfXLXGh3FAfIvvIl+Ui9rDM4RW8tPOgrqKmPaM+fAkfwDG/NDAQKTPEQych/wp9zR/3yWfkchMxkfl247zJ5krb+hpCqACSlNQKtZ6T6/rv41tsUHL/qts4yHN+2Q6UGirt07RpOSH/OlXleFfQ+TXocIAa2mTWzAnZS/
LfAfDbYbHLB0nVM2gD29AzrOMv2WRSVNiFIOLVUcg4TWddqAqyKM2NH5iJem33yJudXtJMszMVy9IKj6zU1AnwqZw8iJ8TwSCVlrxTwITU44HbkmeLpGpzuKT+wDI9oGD27vrAPY2TDj4pK2CqTckEZSYgLdw4w==
                                                                                  Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 15 of 36



                                                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: Smiley Face Stickers 1800 Teacher Stickers for Kids,9 Colors Kids Reward Incentive Stickers Happy Face Stickers 0.6in/1.5cm Small Stickers for Reward Behavior Chart Classroom Supplies Smile Stickers : Office Products

   URL
   https://www.amazon.com/Stickers-Incentive-Behavior-Classroom-Supplies/dp/B0BMV2QMSH/ref=sr_1_137

   Collection Date
   Thu, 20 Apr 2023 10:46:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IUy4w+L3G1YDP2f4rdQ0Rcfs6neAc9rAYtR4cbiLl7EMt8No7G1Jz+hc4JP1x7xleP61Cus2m5SX9f0/7lJMK7c6MsZo4yc3vMClOc2pwnrbLqJ5VJft21fsE5/1X83GkZbknhvJACV8XBcN9hb57GFzr4fhQ48v3frejrhmVfg=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Stickers-Incentive-Behavior-Classroom-Supplies[fs]dp[fs]B0BMV2QMSH[fs]ref=sr_1_137]]_Thu,-20-Apr-2023-10-46-33-GMT.pdf

   Hash (SHA256)
   a3e204f6c82550d22d053f31d1ac1f2883c9db1dd349861cdaf5c84c66aded43

   Signature (PKCS#1v1.5)
KS8KMtyrQmJZPCiDA7hx3PPlppG4iV6d4i2jDHO4LDS4ljAb1Gq1rxumB/UeqFkW2kZ14Hk/CcTnz0A8AP4nby/IQ5kwnw9tpfbrF52iMnC2N4bTtEsEzBPBSdsRAtPUprJ05VxvrVQZjDBUHwfNRy85pljyUPeu8fzUxUkBhPE=
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 16 of 36



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 19 May 2023 08:37:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   U4ooJXPxu4I1ZwG3lPDFgE10nK+WZkePJVKxgiPM/DSYK/LQFOKpW2lruVWXCKBTtxDcPHbj2DWBRRY9AXr7Szg4647SMdpSq90OMJvV4lqd1X2aU/
   ecd8i3Qf4cge1WSps6ZFQmlr5c4uZQ3ez4dcBrAsoGrdpTrWVKrhH6sni7GCVR9A7z5BawhLrkFHUry2S1suPThq06mzbSzKwwfY9l7h80LuFRwnqfPAFfxPludLHzMYpwzsrMQWgI3QRNvWwltH1rVlqgl/PQWShJJkD
   +uGMqQAyVJcGZsNCl1ljGOthAnmqKfsvmgbyiqbawvcoLJ1h4OuUdKubI8Vmvyg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-19-May-2023-08-37-30-GMT.mhtml

   Hash (SHA256)
   a359454948fd31c4034c55689f741b14b48058136f442e68632324e65eaf6fef

   Signature (PKCS#1v1.5)
K+Yj7QUuNZ78AwAmHtG4oRHq37FwgZKJ3oDFqxR+76l8kUcTuephaDU5ER/jpLir3Nzut+YQnvrWHqZ0zqYeXyuyMQCCJww/Lnv4IXOPg7dzcUjaT5hzwEhC6ozTD3psJ+9Sqy7V5E3l9/12PmZpocKjDwv6Ro1ZA95QsBfPkfGywfkd2Z563Sk/cbmE7iZLoYaA0loahzGVFIsitkwlnzcL2IeO7oDwy
+UeKceb7DhHaDmAstXdqf8/3HXkIeuKVc1G/2bVmTHily44U2OtoPXy/esDDSqgV+mFhYLo5rSSeju6hxLE5xcTo9Y4whwgk1nWFPaFpzKVrITNmEEevw==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 17 of 36



                                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: HINSD 5 Pairs Cute Smiling Face Socks, Smiley Face Embroidery Ankle Novelty Funny Socks, Decorative Cute Emoji Socks Pack for Women Girls (brown+black+grey+coffee+white) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/HINSD-Pairs-Cute-Smiling-Socks/dp/B0BRZLWLCY/ref=sr_1_71

   Collection Date
   Fri, 21 Apr 2023 08:28:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UAQhGZl+/sMzUqPJhkRFERdwYBJx8ET35kp63eER2XhP6BI215RruPhiOqDr68wXc/bK/MA6t8iYD/ed1vV4qHDl+b2VIk2FLnTsGdWlUHl3lhCX2Uj/rGtFWAzIrTF/xwZosZtO780EvQDxrfHIoCP3SonbUbK0f9u2fKzYDR8=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HINSD-Pairs-Cute-Smiling-Socks[fs]dp[fs]B0BRZLWLCY[fs]ref=sr_1_71]]_Fri,-21-Apr-2023-08-28-26-GMT.pdf

   Hash (SHA256)
   2bdef461a94f5484b7a90f5cd2d5210139e72424da340beb8a37a0ae87e9be2d

   Signature (PKCS#1v1.5)
P6v+bQBsSBNU5mCI37x2/gqW8o/MgOuDf4JB7MynnK0rhgVwEuhWq01H4ac2fT1PrNHWU/gouThVgZlM7pLfzYhsBLMgc2fjbdo2spzo6ieZcsol/Y4B7RvpvDMcDIPTjbDnHmDKljI4QpjR6Hy5fNsyv4JEk4hWNH+H79Pq3eM=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 18 of 36



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 07:04:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cZJkz+7kQDFiAMPNUrXmpDIX4K6FbOdEHhncNrEzwk+qUmgjXfT89XlbE9ACkT2JolEqLoKrD5FJTJDfCsBhiU1zaBQkUA+esUIFG8G2YpPoU+X0ZpZ5u0Vz9rdYIXF6yk4DfuA0H4erbvj3rs4oAmpejzM8l0/E7Q8dd7gqmolMR3DzorG27lTST9hhlqSjMBHQImTOjMSqpkDGDAEzViL6DikM8f/
   fnZWB66NyBi9FFblZOvtwB7TXMWCNWWmJF5SKvktKlKPUKCQ7ksL6ZsO4H1oGeWTgF34ILLPFpcvO4VLwXljJcKkTWBaF0faBYg+i5z5+Y/FgIKMc+LFAZA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-07-04-14-GMT.mhtml

   Hash (SHA256)
   dc3a35b782e461a6c42c8f6ddd1b6de6935c8fc693becdf1a8f5085adc270788

   Signature (PKCS#1v1.5)
lFd+6pQk3QaGGMoSIT3lHXVtz1fqO8eGSsQDTFpISFFfsIpKW7D2YXodXejlCIUOn+bd183f3eujC7fxR2MJe3Fg/ZVd
+VtrsoPFSuFWz4tfcLWlteVV4myjBEncaVb5vqnbs5eX03lG97psV1SwSkYhndnciOTRQ4TWsgg1tKP0+yafvIeeSjDHN5F91ouL8LNao58hj6M9v6RIC4xestVYgQxIXGCKka7vSXQb1uzjeAP7uNVOZnu7DeSAeQ6ZuTDAxsqGGCJNiTwlkirskLvB4w0G+6RxvydKWPk9w1mrSOHMuE/
AAzGaZ34XqG8KZKfEYMPWXvsYwUeS5ppxsw==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 19 of 36



                                                                                                                                                                                                                                                 Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: AIEVFU Hot Pink Preppy Smiley Face Makeup Bag,Inspirational Quote Choose Happy Cosmetic Makeup Bag for Women Girls,Preppy Travel Makeup Bag,Gift Idea for Birthday Graduation Christmas for Teen Girls : Beauty & Personal Care

   URL
   https://www.amazon.com/AIEVFU-Inspirational-Cosmetic-Graduation-Christmas/dp/B0BYJQBG94/ref=sr_1_213

   Collection Date
   Fri, 21 Apr 2023 04:59:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   m8vXUMdg+ZmdRskppHhOKeOWyNb1iu4b3uGdirdB6o0Yk0TJ5XLH3P4PDc9FnExSi1QRJJo4fpsD2AjqDd1KxpBvn+kVl2h1Vh0k5ZtLOHBTEiGv1EoywFlG1kB2xmLL+SRJTkuXYg7rQA6fMhp+Tve+qU9oyMb/Y6nLpdZCmA0=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]AIEVFU-Inspirational-Cosmetic-Graduation-Christmas[fs]dp[fs]B0BYJQBG94[fs]ref=sr_1_213]]_Fri,-21-Apr-2023-04-59-28-GMT.pdf

   Hash (SHA256)
   2c327d5ecd45b4b4358c5037295e4aea87b3e1aea79ea86a7f4a02273fb4cff8

   Signature (PKCS#1v1.5)
KX+LFT5VwOTVHeo7ooDgrUwSPbUjTWetRimYGlZsP0E7BIPPDO/SM5Qbc23Vgm1mYKsXa/OQhdV9sXaPYzEeW6CfVhfkj5W3x+9QNCg6t+GLEnIf1OM/+c0K2Q+W6p3hsf90TalgaCoqGq8MYmL1/SsfDxj8zRx7ApFTrjLw034=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 20 of 36



                                                                                                                                                                                                                   Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 20 May 2023 07:03:14 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.96.16

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RRU0Ehm4RNbVJxyeYUHxYmp6RCx4ga+Ie+f6BeURuJ7rBR3xoTtn/Cc394uL6XvcottmgJxGIHinvaf0mzRbEXUIUNVeYHNhuHp5/dLdX3LPxmAtS8gLGRhwtuMIsmuUghMc7yJCroiswo2wto7C0O67qZswUSzZwHQIeiX21DMkW1PNPODbUKo45qVtTXzImac8Me3/WoCkDP8DvC+3lux
   +kaPFytKixxp80AS74e5HvFbPPvhVLkDTZNMUes38DDf8X+7UggyciROx9/CGS0skjxGNPOXBVUA+5U/i5QOPQ99Wo10hM/VQ4gOrJ4MWScYzw33sq2zaBqgks5liQQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-20-May-2023-07-03-14-GMT.mhtml

   Hash (SHA256)
   319bf75f312afdef2b036f31969389ba594bb27e00648d5f29625db1ef48284e

   Signature (PKCS#1v1.5)
iKH49U0UyOdnrRCeSU1MkxzSOVAvGUldXucDU3X+GRCAwDqZ3TlfioytB1msxW3i1+LIIG+350WOcRQizAJ3/gtdd69tkWFr75zc+egzu8xYP+IZwiAbR8zNKGfAgsf5wJ9Wr9DhcNZXz5PIP9GP25KUpdlQkh6gFuMPDI7koiaoGOudc+tjkY3M6g7GRb0ytgFzqINdDTfMQRz/
bPKUcgyBcW2UTaud2R7Bi4csQKA7XUKpUhytT1KGlE801U/FGhVoGYqSjmZihDxMrSRCu0LteNKCsvCvO47MGwZrZpiebKWm+eMMjZwcIOdCP6PUZM15GdcDWS0z/KPqJcMPiw==
                                                                               Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 21 of 36



                                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: FECTAS 16G Lip Labret Studs Medusa Monroe Smiley Piercing Rings Eyebrow Ring Helix Conch Tragus Daith Rook Cartilage Flat Back Earrings Hoop Jewelry : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/FECTAS-Piercing-Eyebrow-Cartilage-Earrings/dp/B07QR6GFL4/ref=sr_1_298

   Collection Date
   Tue, 09 May 2023 06:33:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   IEkpTRQgsg2ezGXlWQ5vFHFX5vUdFkqMeBKub8Q23KJQ9KVoepETA4VlRqXeKmJGK3eI2Y6Jej/iZBAteKyBsvz4I3GHb3iifJaHXuGZdR9TF53b+c9kG7qzW4kgEF+YJ1BYEMKgePDd0cWYmYm0qoNoZ7+kuMdSwSb8SOzu170=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FECTAS-Piercing-Eyebrow-Cartilage-Earrings[fs]dp[fs]B07QR6GFL4[fs]ref=sr_1_298]]_Tue,-09-May-2023-06-33-40-GMT.pdf

   Hash (SHA256)
   37426414648cf3ec0ebe3abb6bf6917a77025837105e01f13612cc04b2085868

   Signature (PKCS#1v1.5)
dPop0tlLYX/C0sqmZrJtSC4kEqTQslvRDUImHQTf82hkDnOCsy7JHKSJmC5RbVAoOn7y0B2z+zbphwYwWQt842SQ/3Y0R5+yXQewnzUSHG4QCJyfm24ARm7uKZsvH4DH1Fd7DX3SZrmpBEzZQ0HQ9KZ+KQXvnNGKMFjjWeJPfcc=
                                                                                 Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 22 of 36



                                                                                                                                                                                                           Investigator Name: RemoteUser2




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 12 May 2023 16:47:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   TUSWG+ldVnpiMmBJgVMe1/yOK2nTVjvm4wwU1OwvJIAQEu0MGOaISmD5lcxktdPvD9GK+w2P0Vqgm4V9Rz+0ZvqYQbLDJ9CdTONejQIRLPSRikfcaw1jECsNXZQSdwX2FBE4LZ6pCfRqxUZvb6E0vhT/2mxZp02/No/jz8RcKK9bj4BtsxnZvEfgj5Z/
   kaErlKckEIfXbZwlDkBOWI9Ud1wqs1u6RL4Ud3FLyxd+KIUDoiHqJul91sU+iP0ZDnHH0NeFQr3JtqlNoZMNRdXQDbOn+bzS/jtOYDRj56QsFG+YvFoauSAOy44e7Hf2btE+YrwwImIJNbv/vz1Dg6NtIA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-12-May-2023-16-47-38-GMT.mhtml

   Hash (SHA256)
   edfd9b0a2d77801bd571cda21010f634ea78845a16846c5b76b2294d7495a716

   Signature (PKCS#1v1.5)
r1EQ7QQZgZpyYiUy9irWQogfgPexr2dKAhUpcIdmA+76Bhf59TBe7JDD9QsYJdmivw0ZAOd+aKJHEhHEw/LerOllfuEz8tynMGTnQoa/Lp3XtnokG0u2hrANiQ7h292LlmMMBCw83Vv3xfgR0u1OEZHTht30PeZueYVJ3MCeLhwv/wBo5n4BCJv5sEMS9+aRpk/6xk+cLtZapSg1p+JqWJE/
qWx9rnYqYwfFnMVP7v+2J5bVjnkK/CTtqvtXTYKQ/bR9i2bsj6jCeHLB1QxDjQ9xKj6LPM1lTsHH3EKK/2JXmkYEHyWTBfwAmjcw/vMEnbqfVAuFAT4vMm+3OMfD9Q==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 23 of 36



                                                                                                                                                                                                        Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 200 Pcs Smiley Face Beads,Round Acrylic 10mm Mixed Happy Face Spacer Beads with Elastic String for DIY Jewelry Bracelet Earring Necklace Craft Making Supplies : Arts, Crafts & Sewing

   URL
   https://www.amazon.com/Acrylic-Elastic-Bracelet-Necklace-Supplies/dp/B09873NMRQ/ref=sr_1_75

   Collection Date
   Wed, 14 Jun 2023 11:17:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BAqEJGDq7MZNYxgufBZ/GW9mh/KBDPA8WZYGG5RWkpaMGlaVrY+dUVTXRP+/vTzq8lRElW06cFOres6OkvEKcTMqY6uoXngVDR6El0iJOMx7rGhFKXKqk3RrlLIOdSuAZ1eT396DsEmvzs6wJyCNP4tz68CFxAtwpvwhJ3NtLoA=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Acrylic-Elastic-Bracelet-Necklace-Supplies[fs]dp[fs]B09873NMRQ[fs]ref=sr_1_75]]_Wed,-14-Jun-2023-11-17-30-GMT.pdf

   Hash (SHA256)
   2b50aea0ee0644ed2259b2f76d224427127783a883e2405141ef715a43729bb0

   Signature (PKCS#1v1.5)
WvwrURFMkhQhTvIaB0WcxNxYbnybrziYrLqmaMJmax7Leowge22CkByZdc/OWZWS+XV0ppWbFNe4s1/Zw5MCdDBZImivGPoBK7CeLWQK6xLxrMKzsC6JqdKasF2jpRlSt5yxuy3VgpNC6Fr/Te+7BvzyzjPcbc2FeD4hsMzxEcI=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 24 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 09:31:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZwwsqCnkIIKt2Y1IANfIK70MOL8cYSFo+XYO5Ba8Dmr0SicrQpQBrPexDbL3JGlmE3gn+zE+BagBpHgNuUGcm9TVyKDFsQ0w
   +FaJKUExvA6NtVR2Ymo7DEZRCUQFwwrR6ct2gBlgVaC4z1smZPpEyTm3WLD3c98PiYW9MQLAuLdRlGrR7kvKCBi6+pckGPckx6ewQMjjPEhQQ2vsJyKDHe8XZfwghWanKgsSC2l1DPjjFYSVciY4G3NCBLhL+TYcIHZySS6MBj6lXkI7C6tzOf0YDAU2TGoLYo/IysH86CgFAOdc8/w8rcrHb7iO
   +O9xVe3RP43QAMRSrrc0ZLLj5g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-09-31-28-GMT.mhtml

   Hash (SHA256)
   d4f5792cf9e0800a26c7d849cd4c10cda8d194cfad10cff8c5df401f5cee7e3c

   Signature (PKCS#1v1.5)
k4tnrEOdGVlH2XzB3B2DLKjewn3pBI8onR5ZUlsHaKDstUhW8JQYXQ8D6cIXRAFbWYam9Il6g6es24Dd32wxgiZNa5x1GeFSVTdk0qyFspfWaM+6iQnHGDci
+6fLTw7HYqdWqEKw3Fzr3A1C83ppxrEYJtMQLw9x6M2DKelyZ4NCfT7iHMLXUPXgVQPSz0jM09Co5Ma9MXAu5bdxZSmMu8kSvTmlCc+kqYasgD1SnYzva+ZyRPuX46O48LktEacpMXqgU9TpyQdO/qVbsl8Z1WIjRXkl9cem/Onk3MPy2Po4wNOSPS39vy4iZ2zZ/
BNeI4gPRLPH9Gc9hCGCd1336Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 25 of 36



                                                                                                                                                                                                   Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com | Feionusin Smiley Face Slippers Sandals Women Men EVA Open Toe Quick Drying Bathroom Cloud Slippers Non-Slip Spa Bath Pool Gym House Casual Shower Shoes Indoor & Outdoor | Shoes

   URL
   https://www.amazon.com/Feionusin-Slippers-Sandals-Bathroom-Non-Slip/dp/B0BQRH265T/ref=sr_1_295

   Collection Date
   Wed, 26 Apr 2023 06:10:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   D2E4mkX5ja7sRQ1Bj7/tGXob14mE/4l0HR8eE/5n14ULdj0AZ/HyX9DCKOs2HmZLIwej/VJpXXxy/ruaIjcanxrxZG+wmG6pPgEKZDBqTiUdVl6MX5dH5NGj736egsvmI5MFFTYw2xpO/XKNzpx+s56eab7l5sI3ieXMWysHExc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Feionusin-Slippers-Sandals-Bathroom-Non-Slip[fs]dp[fs]B0BQRH265T[fs]ref=sr_1_295]]_Wed,-26-Apr-2023-06-10-21-GMT.pdf

   Hash (SHA256)
   ca41f4ac625f82c486959393d4c7ffd732b7dbbbffdbe4e28c8d8d73f8659d04

   Signature (PKCS#1v1.5)
qQTi07xyCT6wW1VDcfaAbETudMSgBiaNOmB2WvDQGWkLpHzRud2arlqJkcEvgrZs3XprEicTx8xfT+XnBSzLDa/T7PlEqkqbUlj0A7s7LT/rbkkFw6wxV+4kuo3HwbF++5fM2GBmPTEn1fzhMjcn9peY609dUhKfrOEjJYn06cM=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 26 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 31 May 2023 09:55:32 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.77.63

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cqk5CcJBiuvhMwJwBaW9eyd2Gu0e16TJKs9A4V6sBaFE71RJVwWZrNv5SzLhkEma8kj5bKo71uksEdNso8d/qM7ovusCnBoXrMKuFf+qllrwxr+/mydi7043AF3LFQ7Nm1WHsSpJAqbqg8TsWT+H7/Ln0vFvFse4+Y4ks42El/CIorTVZAe9tE1L9dgZhxnw8A1lNKs7AQZ4p/
   JziOnXPsDJUdoqeFP2QFoWpyrdAMBvK41CG67iBFCJwzjVSQbUR07qLTQFQGR12WrVhMUmjMgQzfY5piESMicBs6JnLPxQivhlPjpVN1vYknITQM46t/5azZbxtZ2ELgtgLpk4CQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-31-May-2023-09-55-32-GMT.mhtml

   Hash (SHA256)
   54401eff6849ce2940041f1af3829e8117435bc181da6f6ddf9749e5e5f76330

   Signature (PKCS#1v1.5)
Xqa4gv23kCg22RfmgMIoLE6LU2Mgbc7oMWOs3OngC6ZxyFCQ4pZztoGg/G2tb19Mxp7uu+bUcc/ZsnQKTorHnCr/ZbkUMY5sjssbHE+2pTkAShPl3/Kx9DIXcN0pViMsjKb9bRQxrAKGQ25wJghorwpHe8Wxsr/RQ4esKfmSv6iCbd65emCI6H1nys37Lm2k9Madx+Q8gJmzd8ANTNjfz3LSA
+8oqnrYjIhxVavwzF77RdF+dLy9QAsGXvoEjoTAsHhdanPc79ZTuRzYed6gFOPAnzY0Uvh4wlUeHVrXLTG3ByI21angNMB7j3RJRdmEL49ArIQrNb5Q3N2041W1Rw==
                                                                               Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 27 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Smiley Face Necklaces, Titanium Steel Chain Simple Round Smile Necklace Punk Hip Hop Rock Jewelry for Men Women | Amazon.com

   URL
   https://www.amazon.com/Smiley-Necklaces-Titanium-Necklace-Jewelry/dp/B0BM6JYGV2/ref=sr_1_128

   Collection Date
   Thu, 20 Apr 2023 04:57:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fMK1QsFwLJJ8M2b6p4RBf4ceGxR9kS2uyJo964q6+v1fZ011jC3HJu6VBo1A/c19RIwSWC5gKytTZfnwPfqjv089NPAP8PQh7qCi+zCwZFrComDlRjKoB1JiQ/i5Ozq5Edgyc4v3FvTqEVJWlK2e1EMujIvI8o7abi5G8UB+FG4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Necklaces-Titanium-Necklace-Jewelry[fs]dp[fs]B0BM6JYGV2[fs]ref=sr_1_128]]_Thu,-20-Apr-2023-04-57-24-GMT.pdf

   Hash (SHA256)
   3d24a33547637ed7d948c640c9901e10e378e58cd6f7d5cfc87de933ba2ba44d

   Signature (PKCS#1v1.5)
lwRuQLMHxm9nLtI9FOYjPwsQnKfipQUWS+APMTAktHyr8lKQ72yq5llR9iqHP5+ARGq1/pyfKhah083U8I7X+JjIgdC+8odFj0C1KmdDFc8i5H87S3zXWnbQrTgQC2QWxIgu0QC7Q6QSJo1yujvU8u3MmJsE2OdNntWXbQD4Vcc=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 28 of 36



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 10:11:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Oqq8Rj5vM6ZZRdJsdSoiL8v8m6NLg/GiQzRlX672YdlJghsjYFCFF71ONscF3U1qAJ1fZorLAcZ/8fDE5OvM1LUEmjKmNf47BD80o+giVK+UxIt/828uKQz+J+i7h9i2UEtHwq/VAkCpuPSSfmhBsws1/UTk+tMo4pFB/HrHLGwZVh9zMG1VfkZioDoFnEuEc
   +Ht5KTXDZ1OrYEPoiHr9OCoXO7QNcSqLDcFE0G2L15gNHcR6QP1GlC6LBBILIl5/wMWRVnHz1k1xRsoh0gTYikVoDwKEt3g5rH7AqhGQJqr54AQgI13jRXdRTOExzmGx9Tt6ZI3ctUhy4GByxhjfQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-10-11-42-GMT.mhtml

   Hash (SHA256)
   e38a5a290ded4149594aa98c633a0666a5ca93bfc6a8303371e922c79ba3abbc

   Signature (PKCS#1v1.5)
oKa/mUVMcN3AVsV/8k3GTzxI6UeAgyQyCE7R7KpSBSX/Nd77sJzSPrNSFTNw5sf/n0Kp2RyxPPl/RZJ1nuHahAL2PGcq1Xd2P6q9xGoTRJkR9uGCxkOfoSVz8l3HR6MGeY1APdq5+QxGb7a8x7R7IaczGFRftl9guCxNNSnX+g66JTTWb9gEPyH9ZvcGyIxHfk/SRC/o4sW6iRci8XNc/F+FkLfqQ
+Xn6b20heLRQALBWt8HiZPaK1c0g1Q2uL8nFyMnfnsDpzdCFd7FJDZG8dH2b8rooVb1sDOpene7Z2dtSaihKaAubPjtGR7RxZl1cCmmlV1FmBh3apfzrcdl+A==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 29 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Smiley Phone Case, Full Camera Coverage, Smiley Cute Painted Design Soft Liquid Silicone Case for iPhone 11 Pro max : Cell Phones & Accessories

   URL
   https://www.amazon.com/Smiley-Camera-Coverage-Painted-Silicone/dp/B0B9GSWBG5/ref=sr_1_280

   Collection Date
   Tue, 25 Apr 2023 05:06:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   qM15P8f4kkrmjaNszqbIDy+cjlJKKpPHK0Nhtr49gJzIb1t0JG6W+5xBKQjS6l4RdAycuATDtZHCvD9hupLc6D5ZQGSF3IOmzy9c5fbK/Ss9uvPYsO6u6Z52Ad+MCMIiocr+yrCGCyeXsj8CyeM3AroQ70pFXSx/8HIV/UEBj20=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Camera-Coverage-Painted-Silicone[fs]dp[fs]B0B9GSWBG5[fs]ref=sr_1_280]]_Tue,-25-Apr-2023-05-06-40-GMT.pdf

   Hash (SHA256)
   4aede4c14b247c64e1a15aed113b4d3bffe6ba2242343ca988a06b06e8057cdc

   Signature (PKCS#1v1.5)
h8ln2ljkrOGr7eyhNBF3tAuQt5ouT35Sie7UhM4suHZzwNEvcF/PbOn9Llmmjw4Nnu+jn1IRUT8FXnQXYiMkpNaT/BGnhWoIVgeSLqF16ItJ0RiTNFtKb67ghfdI1qKyDVXSUYIXYIq4f5fEcQ4MK59H3CML9HFIj5LodAQgnKw=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 30 of 36



                                                                                                                                                                                                                  Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 09:00:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DmAzcBEgyv+zlDnI9js7n3VvxK5+aw1Y5dbyP3Q2q7e6rFVLepcrCC0bBn/4UeppR/UfwxTM72nhL8cR+qUX1/4l32HyDGW84TrhgicSl+zjYx4Az60cUno2dwKCbgKIsEvLvEHL/ljOY1x1mpqGchLgN0G7zxGRJnrG9cE+BNrfqJGQ0SHR4Bz3tLZrf4a01Z9y+W011/sN
   +sswBIzUYYj69hSRLJRLUV37/yBHnMRzufrr+FBHxXjPE/FiBcQURiPX0C9rdPM3gzyQGdyYVwyY/nY1z+eIcKpuSyMGv5NjJnWnnYwzlGzNfJAAmg/pz0hoWnlwKpR9iAAVjz0v1w==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-09-00-56-GMT.mhtml

   Hash (SHA256)
   b2c6a213e86a7dcb3231c1a9faec90f1370460b7fb042f0883d4f64c3a96d972

   Signature (PKCS#1v1.5)
qFOYj5rVEa7Ojh7nOsLvkcX5BJCGv9rFE3bRWdTsuo35Vv/umnMvZqPQQ2ArJdsHkKmVKqbkAKJBlZnOR/YB+U1hfDuaLlZt23UokNcG5CwTsSE976sz2sEPt8KjbTLo88ozETqJwQKVJS2Z+zKNBhxbB2ulHoJlGSfU5ZaPXQeVo0x7UsImFer2N/
dU6RfRpwmlOXQWtDepJ3KEL11CcMGsQMOmXxXi+P7sl0+mlj7VStZrsyzuqpZ0NOA+a9fpFqTXqn+RWqafBPdY2NGrMQwJcOnWHFNwreguK44XdE8bvtc4Sm9BrRAGuAhza2VMRNf0kai5LcACaCtbTTmb6Q==
                                                                               Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 31 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Ajdnfvnh Autumn and Winter hat Men and Women New Teddy Plush Smiley face Bucket hat Literary Retro Warm Winter Bucket hat : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Ajdnfvnh-Autumn-Winter-Smiley-Literary/dp/B09PBKTZN8/ref=sr_1_282

   Collection Date
   Wed, 26 Apr 2023 04:14:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   W+W8bNqGM4/XpKG8wpi+1wC3z1Z3KYz37ND8InRwCgTopBurz6Q8cCinC6yQly45yViRMrvtbL30VrTNzJy16tO+SiP0QRXJRS1HoN6QM63pESqt14cKbq35W/1GfiY0isJUPH6id2dVGgXfU6q85VR7v13sVKOTrLdA3h/XPmo=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Ajdnfvnh-Autumn-Winter-Smiley-Literary[fs]dp[fs]B09PBKTZN8[fs]ref=sr_1_282]]_Wed,-26-Apr-2023-04-14-37-GMT.pdf

   Hash (SHA256)
   b1b595cc66854eb6282969331c577f7bdb749cb8a9cefa875d5835ddedb61eb9

   Signature (PKCS#1v1.5)
Ug1lmtBojjRtuWcrU5XzetFP4Is2ZBvRgKeQ3QHRwvUETyoF+v+3dQ/Bxi1P5mrAXlFXEXsOQzb9OSMXvSqsPTQ92/AeeAE4In1+CUUQm+VJDwpOM8zjizDB/FewHC+YK93OurrNcguLaaIT24y4zr91x+tNj3bX5qwdOo4rHJE=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 32 of 36



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 30 May 2023 06:25:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.164.136.95

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oB3b59DfTqRM3sN+eJSrwipHooVkrgxOBHlhAvjp2QjkMxFtMnhUVGXE5B6ibHsw34dLpAFeeFamorWSfZAscSvSTxP/O8a/lPxgDojlW1e/KQpx/n7mzCKbBEDlPGFNyKDZi9noPMckbOK1WdaSxPaI7hRjPykvbEnQC7hYB8nzLO+01eTYfwmh4PHJGgoJvmyLufhcV5K64yDQ5E1TwTv/
   BJVCs8Ui/JQEj+Mzv6QwbLuJeib6clBLS0gfS/UB5edA9DhbJAHHmJQZpxtq4InyWcBUeG8oxWD4ls7bqdyJDdkzo0Q2sKuLZJqcu5VyxoHCyioqdgitheo7YR/oqA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-30-May-2023-06-25-21-GMT.mhtml

   Hash (SHA256)
   d26d3e1f26cf4f921594c522319c949871ca9a4ac87fae03c70d531e65ca2f03

   Signature (PKCS#1v1.5)
pgrSRBcD4wsXo6cC6zjrUKE44Ie857aQhNA0gbonponI05bTVy+AYgh9Wf91EXgp9T/Vf1D+2ZxIcS/FS9MUxylMkLwuO1X6daNGk6luTiKicFJZ1tGG25bY+Y4OhMARcokcr741j19Ud3mEPI0mmBQE8RBqrLj0Ug8/
LgeleYqyNZYyLsYBH9hUlltlRla8VQXRpkWkOrFI0qMDYYeRVNUTXsqWbJAfisVO/1a+EJNFIii4a5XbKZFeJWimhmo7HiB7lldvEtbQxVtcx0fLcsgEEBfIBEodtNnRlAoz7kTX+4+XcJTOq++0Gs7KdKLNz8so4WsTR3Yf3Ppx5E4QmQ==
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 33 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: FFJGO Smiley Face Love Life Titanium Steel Silver Necklace Pendant on Adjustable Round Bead Chain Necklace,28 Inches: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/FFJGO-Titanium-Necklace-Pendant-Adjustable/dp/B08LC6YYHG/ref=sr_1_280

   Collection Date
   Mon, 24 Apr 2023 06:32:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CqfbhXJGhYwU72wXrGcn3rR/WtaoYXrGiEQm5ranBF2Dq12AHhvhiqsAeH5XqjbTFUtfAd3Fzz5GHRpPzNyC0qx5v0LCkEmEKa6ZfKcclUohV7Nm/39lbY1ZMmxmL+YPOuOaQQ752EMmYNF8PdjifhqrIQ2/i3KqeMvNMwt+KzI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FFJGO-Titanium-Necklace-Pendant-Adjustable[fs]dp[fs]B08LC6YYHG[fs]ref=sr_1_280]]_Mon,-24-Apr-2023-06-32-07-GMT.pdf

   Hash (SHA256)
   bcb5bab52c3ca9c51b7bbdbf5e9869859b489139e97e6ef16084f06b1aa782b3

   Signature (PKCS#1v1.5)
lDLp0ke5MP/LaWx/C02/S68kZCi5YCu/J1QOT5KSVeVXxWD1CLe7nWrLHH0/Os74lxaCbCzED7KIntTnbYei/QsI0BNCAqs9Xkx9zzMiEl9YCnBuavnBdMJLCIjZJuxrnA04aLk6qDoTrRFwX0hCABlFjAbsaHjBwryR6OoeW/Y=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 34 of 36



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 15:24:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X61FfbTVTtDIpNqZaRBMip5JilyGVx1LIIK5HXxJFDnG69a517P3bwsV6WhyDPT20Bp5RWykcFSgJg3WJXNYTS1DZmyxsnM1Y8BfBcO0xjoOYbVt7yy1WxQDoVvgCIod0Btk6yHEgk2IWnqFzOTO05h/pHUEmW21uCtX+I9/Tls/TNMfspbTebfUMyG9rNmRemUQvt2eKzpSNw3/fbrh/
   v9dbGPoHZLa2fTjNwKRQTzoMwybShEezsj0qWVOLMnm4grYO9cKD8NtJs7jdWbYZsdKZbvYSek8KqjyRPfKq9F2ratsCPFpp930VMBX3ttFfUsbtRUMcxcsyNMItMt1eA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-15-24-27-GMT.mhtml

   Hash (SHA256)
   17e54a89c6c08cf645b503ffbbff6a9b1977d1bcabe6e462b0ac7ca140bc45d6

   Signature (PKCS#1v1.5)
lCkGKTdY4hZgzyPyyMcX+UcNRejzYXIMpPl0HT/K4jrz/pT6cqFV1kkirxd8xKGzNBjttp2az4kSM0/hj58ivjJF+G2RiLynZJf7VQ7ESJ6e6p5L8dNmpFYM1gpQF7PLRFg7CEwSIlcNjlEB1dYRggd2oT/KqbN7vE+it+t6aw2IzgDx2HpOREfQnA/
gG9kMOc0hHipVAAQQYMSPdf1mAD81yGYUtEbIFDKqgPJmEPSzNIBhjSCIAk26v+tDf3x5D/tUrF2qv8pvT+mTyE607cl+EcKaTeUCkCQLUBKE7aNXpMnHAgKvzgVFvt5G68yw7ZaWhu5VkRQbwcSAeDCtDQ==
                                                                               Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 35 of 36



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   FGSS Smiley-Face Snapback-Trucker-Hat for Men Women - Adjustable Mesh Baseball Caps Black at Amazon Men’s Clothing store

   URL
   https://www.amazon.com/FGSS-Smiley-Face-Snapback-Trucker-Hat-Men-Women/dp/B0B8ZLV7RR/ref=sr_1_6

   Collection Date
   Tue, 25 Apr 2023 09:25:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fbMmWHW80AJlUjEXuzUl3gsBft8DhfWt6HzXLyaDaUy39QKuTpM27HEtMG9oloCTWFyzt/5qA2dhxUOyDNu/KGFP5p3iMKfMqmKSLnPN1OL5ONIaA2mSVZZYdMz7WD3WHUANRjvWxMQ4o70BrRBSju0c0ZrmaNHpd3yfHtVAPwA=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]FGSS-Smiley-Face-Snapback-Trucker-Hat-Men-Women[fs]dp[fs]B0B8ZLV7RR[fs]ref=sr_1_6]]_Tue,-25-Apr-2023-09-25-56-GMT.pdf

   Hash (SHA256)
   3b1ff8219e72249feb8b96e38d72ae88f225abc5d12db48d3570d4e84e797511

   Signature (PKCS#1v1.5)
cszmKxlzxp6R4HFDpDLc8KJIJug8PiWu0oyJUUxyCN5dizcUpyzKpJmzXmP+fJx375sY8R0ukzvod8NxhvrL8Z0g902r23jbvnDxB4W4bhJe9SF7Fq1iXX4xXdV9YqOTfADZXhNpmEr/KETERjJsWRaP+OjBhO78jlDcT1LkqM4=
                                                                                Case 0:23-cv-61203-AHS Document 35-6 Entered on FLSD Docket 07/27/2023 Page 36 of 36



                                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 14:58:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   bW+0tSC3RN8qlRPsMRshoPawU0bYf5/SaFzInMUQW2U0BMx5r9saNtllJiw//
   yYVlYGCSRFtahgsjbaSndw5wrxZLtKuREQY07iBJXf4GYuqTDvecKethyD2sjCf1ILqeEEQqKw4aPThxHS98QfPA7LnCVaT7vrh6up9NK75QgaQhSt3PFh0yHjeEBBYz0ihswtOlGroyostQNSiWfAZYFrOTw3E7yyB1Gm89e01M+CpvjUBkt0LsIRP3FAwLdywIF71TJU94AK/
   U7ETMeDFQiodOySS3So3hjfgA51wg68AlpGY849iF0qTpNE1/eOnMYEX4afeavg1933T536sBA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-14-58-48-GMT.mhtml

   Hash (SHA256)
   4f18250b28aeb6f69e821430b4296754a24bc409f0c516cdf9434e673d8cfef6

   Signature (PKCS#1v1.5)
nAbW7eNlYc5JY2GI3J9bOtpZZbSkXJqwhxgd0Mi7pTGmpwWuHnKa
+VBdbBhltpfEFYm2fsbCKYMJQm2LuqjbeMw0Nvlourh9j2+NDiR4oKKz7EVwQTpw8+2AbYUfi6bDHf0+BIuPcaT3BXYfVCFbimL2WkhxloWO1Zdy9YZcS3rI6QTBQlGN0rwRgFo1d377h2SbLCIMJkjBk4lLyCJc7HwtF0XuPNli6E7WA9rx5re89F/QURGuB9vCs0b7qF2Auf5x6R8JD5tvW
+xCodiJ319+9FHXbRtOqEWzDLp/fJjAOa3H3RPxG3LUTmGjDGOZoWIxrU13kTJ0Vc+/I3KTAA==
